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Case 4:24-cv-00483-O AN 48.090 Filed 05/24/24 Pagelofi2 PagelID1
BEFORE THE UNITED STATES DISTRICT COURT

BRANDON DAVID HUNT

7526 Red Stag St.

Arlington, TX. [76002]

SERVE ON: Supervisor Personally
Plaintiff

4-24CV- 46

Vv. Case Number:

Internal Revenue Service

j »5. DISTRICT COURT
9450 Stratum Drive NORTHERN DISTRICT OF TEXAS
Fort Worth, TX. 76137 FI LED
Serve on Supervisor Personally
IRS Commissioner MAY 24 9994
5450 Stratum Drive
Fort Worth, TX. 76137
Serve on Secretary of the Treasury Personally CLERK, U.S. DISTRICT COURT
Defendants By ww
Deputy

COMPLAINT TO CLARIFY BILLING ERROR, TO
VOID CLAIM OF DEBT, AND FOR OTHER RELIEF

FACT PLEADING

1. The Plaintiff, Brandon David Hunt, Pro Se, brings this action against the
Defendanis, the Internal Revenue Service (IRS) and the IRS Commissioner, alleging
grievances arising from actions taken by the Defendants related to tax assessment,
breaches of privacy rights, and doubts as to liability.

2. The Plaintiff avers that the Defendants have infringed on Brandon David Hunt's
privacy rights under the laws of Texas and federal regulations, including the Privacy
Act, AND THAT AS IT iS AUS GOVERNMENT CORP DEFENDANT THIS COURT
HAS AUTHORITY UNDER 28 USC 1331 FEDERAL QUESTION JURISDICTION
AND 28 USC 2201 AND 2202 DECLARATORY JUDGMENT AUTHORITY.

3. Hunt asserts that the Defendants have inaccurately assessed a tax liability against
him, in violation of both state law and applicable federal regulations, inasmuch as
they have unilaterally decided that he is one who is required to pay without due
process of the law afforded to him to challenge records upon which he is viewed in
the light least favorable to him and most favorable to him being accountable for
liability.

4. Hunt contends that the Defendants’ actions constitute a breach of their duties and
obligations, which include ensuring accurate tax assessments and adherence to

privacy protection requirements which includes (a) making sure that the records are
accurate and complete, (b) making sure that they are timely formed, (c) making sure

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Case 4:24-cv-00483-O Document 1 __ Filed OS/24/24 Page 20f12 PagelD2

that they are not irrelevant material laden, and (d) making sure that due process of
the law is afforded to Plaintiff when determining things upon which adverse
determinations would be made against Plaintiff.

5. Brandon David Hunt specifically points out that there is substantial doubt as to
liability in this matter, as an unaccepted Offer in Compromise (OIC) is currently
pending. Brandon David Hunt asserts that it is unclear how or why an analysis led
to the conclusion that he is obligated to pay the assessed amount in the first instance
nor how the conclusion was reached that he was (a) one who is taxable, and (b)
subject to tax lien therefore.

6. Plaintiff comes for judicial inspection of the transaction where the Defendants have
and maintain records on the Undersigned with his personal identifying information
and they do business within the meaning of the state laws on the topic such that they
must be deemed to be involved in the business of debt collection and owe due
process regarding it including addressing billing errors when raised as Plaintiff has
raised them here in his challenges (See notice found below at Exhibit A annexed).

7. Remedies have been exhausted in as much as the Plaintiff has issued forth notice
of billing error and challenge to the perceived records error regarding his identity,
standing, status and as to “labeling him’ generally as a “tax payer’, and DUE
PROCESS application issued as well as OIC which have not been adequately
answered to date.

CONCLUSION

8. The Plaintiff, Brandon David Hunt, asserts that this state lawsuit raises valid
claims under Texas laws and applicable federal regulations.

9. Brandon David Hunt respectfully implores this Honorable Court to evaluate his
claims and grant the remedies and relief sought in this state lawsuit.

RELIEF SOUGHT

A. Brandon David Hunt requests this Honorable Court to issue a declaratory order,
declaring that the tax assessment and NFTL filing violate Texas privacy laws and
federal regulations, including the Privacy Act.

B. Brandon David Hunt seeks a declaration from the Court that the Defendants'
actions have adversely impacted him credit rating and necessitate appropriate
remedies to rectify the incurred damage.

C. Brandon David Hunt petitions for an injunction mandating the Defendants to lift
the tax lien and associated notice if either or both have not been lifted to date. She
further requests correction of any inaccuracies in the tax assessment based on
precise corrected privacy records inclusive of the information that he provided and
then financial records if indeed they still appertain after adjusting based on the
challenges.

D. Brandon David Hunt urges the Court to order the Defendants to either void the
records completely if they cannot reveal and reconcile how they came to the
conclusion that Plaintiff is taxable OR if and only if they can do that compel that they
Case 4:24-cv-00483-O ument 4 Filed nlealad Page 30f12 PagelD3

D C 0
BEFORE THE UNITED STATES DISTRICT CO
negotiate a fair compromise, considering the accurate tax filing that rectifies any
erroneous information.

E. Brandon David Hunt requests an award of attorney's fees and costs incurred in
pursuing this lawsuit.

F. Brandon David Hunt requests any additional relief that this Honorable Court
deems just and equitable under the totality of the circumstances in his favor.

G. If needed, where there is no adequate remedy at law if such fact is found, impress

a trust upon the Defendants and by and through the use thereof cause the relief
sought to be provided to Plaintiff.

Respectfully submitted, -

Isl x ee HAL [L.S/SEAL]

7526 Red Stag St
Arlington, TX. [76002]
Case 4:24-cv-00483-O pone H in|ITA Page 4of12 PagelD4

TO
Dept of the Treasury

IRS
Small Business/Self Employed Division

5450 Stratum Dr Ste 150
Fort Worth, Texas. 76137

OFFICE OF TAX APPEALS DIVISION

Care of |
5450 Stratum Dr Ste 150

Fort Worth, Texas. 76137
Attn: Supervisor Personally V.C. Sandles

OFFICE OF TAX APPEALS (Nat'l oversight)
@ the address for Tax Appeals Etc.

Enumerated Complaint for Administrative Exhaustion and Proposal
for Offer in Compromise and Notice of intent to Sue due to the lawful Protest
included herein in accord with Administrative Exhaustion Protocols promoted

and promulgated for use in these situations ...

RE: This

To Whom It May Concern,

As to the issues raised herein according to the IRS, “a letter [or Notice]
challenging and/or seeking appeal [exhaustion] should include the following:

1. Taxpayer's name, acdress, and contact information.
> Astatement expressing your desire to appeal IRS's findings to the

Office of Appeals.
3. The tax period in quesiton.
4. Alist of the items you co net agree with and the corresponding reasons.

| am writing to raise an enumerated complaint and appeal regarding the tax
assessment, and subsequent communication concerning the tax liability of
BRAVI EL BEY TRUST. | seek both the “Release” and “Discharge” however
in the interim for a win win | have submitted and propose an offer in
compromise which | will separately appeal (exhaust remedies on) and seek

judicial review if not granted.

Presumably the Lien threatened to be filed and/or filed pertains to 7526 Red
Stag Street Arlington, TX [76002]. Please grant release and discharge.
During the period of records correction communication and appeal/exhaustion
as well as Judicial Review suspend the LIEN, the NOTICE OF LIEN. and
nforcement activities of any kind. And as record correction relief | seek
Case 4:24-cv-00483-O Documenti- Filed 05/24/24 Page5of1i2 PagelD5

suppression altogether and nullification of all ad isi i t
Sen and BRA EL BEY TAUST oe cree and act
generation skipping in nature to sufficient degree to warrant ren in ro
zero taxation additionally 508 criteria may apply warrantin exe otions a "0
Amendment 2 US Const. basis (also see Art. 1.2.3 amd 12 4 514). ner

To be specific the obligation claimed is accepted for value and the
Undersigned unconditionally promises to pay all just obligation without dela
upon permission of presentment and/or inspection of the original contract and
commercial agreement instruments creating the liability claimed and in the
event where (a) it has been reassigned, and/or (b) where the same are
redicated upon self analysis and self-reporting, the underlying and resulting
ations of authority transfers and designation contract and commercia!
ments should be presented or exhibited for inspection that found the
presumption of and obligation basis of the demands for payment including any
analysis and label as “tax payer accorded the Entity or any individual
associated. To be specific in the letter it states that the Undersigned was
identified as the “nominee” within the meaning of the Tax codes and IRC and
as such responsible for the obligation to pay, or perform, and guarantee that
such will be done under penalty of adverse action for non-performance.

ance of this, BRANDON DAVID HUNT would like to inspect
g the conclusion that he and/or BRAVI EL BEY TRUST are
d under an analysis as such. Without this it is an
inverse conclusion that because it cannot be explained why in fact one IS
under such status and standing presumption that BRANDON DAVID HUNT
and BRAVI EL BEY TRUST are in fact NOT. The law provides that there is
no obligation to read the law in the light least favorable to oneself and in fact

5th and 14th amendment USCA protects one from having to do that.

deleg
agree

Further, in further
and have explained
“taxpayers” and obligate

e undersigned request to inspect the contract(s) in place that
of the Internal Revenue Service authority to recover

or to locate and recover assets that the Secretary of the
lection. (oursuant to title 31 USC § 3718)

Additionally th
grants any agent(s)
indebtedness owed,
Treasury deems appropriate for col

This is timely made and the date of your mailing was 3/26/2024 thusly this
COLLECTION DUE PROCESS and PRIVACY ACT RECORDS ERROR
CHALLENGE IS TIMELY SUBMITTED AND SUSPENDS ALL ACTION

UNTIL RESOLVED.

The following challenges and concerns are raised:

1. Errors in Tax Assessment and FTL Filing:
a. The tax bill and FTL were filed in relation to the taxpayer BRAVI EL BEY

TRUST, concerning a 1041 tax for the period ending December 31, 2019.
However, it appears that errors have occurred in the assessment process,
leading to a substantial overvaluation of the tax liability.
. b. The accuracy requirements of the Privacy Act have not been met, as the
intial amount of the debt, does not correspond to accurate tax assessments
intended records and that is assuming - prematurely - that what were

ed to be informational filings are such that could result in taxable events.

Case 4:24-cv-00483-O Documenti- Filed 05/24/24 Page6éofi2 PagelD6é

ach of Privacy Act Accuracy and Complete

ly The Notice of Federal Tax Lien (Form 68

information about the tax assessments, tax period, and debt a )) Provides

However, the information provided would be inaccurate, leading foe /

preach of the Privacy Act's accuracy and completeness requirements
b. The tax lien's attachment to properties held in the name of the tax

and the nominee may result in adverse credit effects. The inaccurate payer

information further damages credit ratings, thereby infringing on the Privacy

Act's safeguards.

2. Bre
a. potential

Notice of Anticipated Amendment:
a. | respectfully request a notice of anticipated amendment to correct the

in the tax assessment and debt amount.
have resulted in a billing error and an unjustified imposition

BRAVI EL BEY TRUST.

4. Request for Resolution and Compromise:
a. | formally request the lifting of the tax lien and the associated notice, as

the erroneous 1041 tax filing has contributed to an inflated tax liability.
b. In light of the new tax filing that rectifies the inaccuracies, | am seeking a
compromise to adjust the tax liability based on accurate financial records.

3. Request for

errors
b. These errors

of a tax liability for

5 Offer in Compromise Proposal:
a. | propose an Offer in Compromise (OIC) to settle the tax liability of BRAVI

EL BEY TRUST. Given the errors in the initial tax assessment, | believe that a
recalculated tax liability would be significantly lower. Specifically

b. In good faith, | offer to pay [Proposed Amount] as a one-time settlement
of the tax liability. This offer takes inic account accurate financial records and

the rectification of the errors in the initial assessment.

6. Exhaustion of Administrative Remedies:
a. | acknowledge the right to appea: the filing of a Notice of Federal Tax Lien

through the Collection Appeals Program, as explained in Publication 1680,

Collection Appeal Rights.

b. | intend to fully exhaust the administrative remedies available to me in
order to ensure that the errors in tax assessment, FTL filing, and associated
consequences are appropriately addressed. Furthermore in light of that and
to further that endeavor as well as to delay and suspend the collection threats,
activities, and record inaccuracy based adverse decisions being made this
NOTICE is concurrently filed in the Office of Tax Appeals for the appropriate
Jurisdiction and forwarded to the National Supervision Administration out of
abundance of caution.

ao ou prompt attention to this matter and your commitment to

completeness t issues In accordance with the Privacy Act's accuracy and

guidance on the tenets, | eagerly await your response and further

compromise WITH YOUR eee the errors, lift the tax lien, and negotiate a fair

billing errors. accounti R RESPONSE, as this regards and addresses

pertains to what | Anung errors, and even personal error in self-reporting as it
is in-effect a generation skipping trust that more likely than
Case 4:24-cv-00483-O Documenti- Filed 05/24/24 Page7ofi2 PagelD7

f tion inclusions as to the individuals ;
not qualifies for exemp 1 AN Uals and as to th
itself (as exempt), please provide disclosure within 10-30 days (10 days catty
acknowledge privacy act challenges and 30 days to adjust the records and

etcetera).

1 am eager to ensure that the issues are appropriately addressed and that a
fair resolution is reached. | respectfully request an update on the progress of
the review and any actions taken in response to my enumerated complaint

and OIC proposal.

Specifically. | would appreciate information regarding the following.

1. Status of Complaint Resolution:

a. Have the inaccuracies in the tax assessment and FTL filing been

identified and acknowledged? .
b. Is there an anticipated timeline for addressing and rectifying the errors

identified in my complaint?

2. Offer in Compromise (OIC) Review: .
a. Has my proposed OIC been received and reviewed by the appropriate

department?
b. Are there any a
the review of the OIC?

dditional documents or information required to facilitate

3. Steps Towards Resolution: _
a. What steps, if any, have been taken towards lifting the tax lien and

associated notice?
b. Have there been any developmenis in negotiating a resolution based on

accurate financial records?

To Be clear the law based policy develos=d states as follows despite the fact
that it seems not to apply to one where a Judicial Review is desired and Court

Action:

Collection Appeals Program (CAP) is available for a broad range of collection
actions. CAP cases are regarding a specific collection action proposed or
taken, and are generally resolved very quickly. However, you can't go to court
if you disagree with the Appeals decision at the CAP hearing.

You may use the CAP process if you are involved in any of the following
collection actions:

Notice of Federal Tax Lien, filed or proposed to be filed

Levy action, taken or proposed

Rejection of Installment Agreement

Termination of Instaliment Agreement

Modification of Installment Agreement

Dis-allowance of taxpayer reque
S
Seizure y quest to return to levied property

CAP Procedures
Case 4:24-cv-00483-O Document1i - Filed 05/24/24 Page8ofi2 PagelD8

not qualifies for exemption inclusions as to the individuais and as to the entit
itself (as exempt). please provide disclosure within 10-30 days (10 da = ently
acknowledge privacy act challenges and 30 days to adjust the records and

etcetera).

i am eager to ensure that the issues are appropriately addressed and that a
fair resolution is reached, | respectfully request an update on the progress of
ihe review and any actions taken in response to my enumerated compiaint

and OIC proposal.

Specifically, | would appreciate information regarding the following.

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identified and acknowledged? .
b. Is there an anticipated timeline for addressing and rectifying the errors

identified in my complaint?

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2. Offer in Compromis
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a. Has my proposed
department?

b. Are there any a
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dditional documents or information required to facilitate

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a. What steps, if any, have been taken towards lifting

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the tax lien and

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collection actions:
Notice of Federal Tax Lien, filed or proposed to be filed
Levy action, taken or proposed
Rejection of Installment Agreement
Termination of Installment Agreement
Necuication of Installment Agreement
1S-allowance of tax i
Senure taxpayer request to return to levied property
CAP Procedures
Case 4:24-cv-00483-O Documenti - Filed 05/24/24 Page9of12 PagelD9

lf your only collection contact has been a notice or telephone call:

Call the IRS telephone number shown on your notice

Explain why you disagree and that you want to appeal the decision

Be prepared to discuss your case and have all relevant information handy
Before you can start the appeals process with the Office of Appeals, you will
need to first discuss your case with a Collection manager, unless the appeal
involved a rejected, proposed for modification, modified, proposed for
termination or terminated installment agreement

if you have already been in contact with a revenue officer:

Call the revenue officer you've been dealing with

Explain why you disagree and that you want to appeal the decision

Be prepared to discuss your case and have all relevant information handy
Before you can start the appeals process with the Office of Appeals, you will
need to discuss your case with a Collection manager, unless the appeal
involved a rejected, proposed for modification, modified, proposed for
termination or terminated installment agreement

Complete Form 9423, Collection Appeals Request PDF

Submit the completed Form 9423 to the revenue officer within 3 business
days of your conference with the Collection manager

Note that the Undersigned chooses more than Collection Action Protest or
Collection Action Review. The nature of this submission is protest, notice of
intent to sue, and notice of application to suppress collection action and to
suspend the same, the assessment, the self-assessment that all is based on,
and to provide redress for the errors in the records and billing.

You are entitled to a Collection Due Process (CDP) hearing with Appeals if
the IRS sends you a notice that states you have the right to request a CDP
hearing. such as:

Notice of Federal Tax Lien Filing and Your Right to a Hearing Under IRC 6320
Final Notice - Notice of Intent to Levy and Notice of Your Right to A Hearing
Notice of Jeopardy Levy and Right of Appeal!

Notice of Levy on Your State Tax Refund ~ Notice of Your Right to a Hearing
Post Levy Collection Due Process (CDP) Nolice

CDP Procedures

You generally have 30 days from the dale of the notice to timely request a
CDP hearing

Complete Form 12153, Request for a Collection Due Process or Equivalent
Hearing PDF

It's important to identify all the reasons for any disagreement you have

Send the completed Form 12153 to the same address that is shown on your
CDP Notice

If your request is timely made, you will be entitled to an Appeals hearing and
to seek judicial review of that hearing with the Tax Court

if your request is timely, IRS levy action is generally suspended against you
for the tax periods you appealed
Case 4:24-cv-00483-O Document1 = Filed 05/24/24 Pagei10of12 PagelD 10

ta CDP Equivalent
lf your request is not timely, you are still entitled to reques

Hearing with Appeals within the 1-year period described in the Form 12153.
However, if you still disagree with the Appeals decision in the Equivalent
Hearing you have no right to judicial review by the Tax Court

Sincerely,

aD

Isix
Mr. Brandon David Hunt
Regarding BRANDON DAVID HUNT [sic] &
as and for BRAVI EL BEY TR [sic]

[L.S./SEAL]

(Enclosures: Relevant supporting documents, if applicable]

CC: [Applicable Internal Revenue Service Address - Attention: Collections
Department]

[Applicable Office of Appeals Address}

[BCC: Any other relevant parties}
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ET SG

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3589 a71a S270 03494 45bo 4 :

$2924H503123.02

Case 4:24-cv-00483-O ee C¥- 483 @PRBe 12 of 12 ano 12

JS 44 (Rev. 04/21) (TXND 4/21) CIVIL COVER SHEET 4

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Cour for CD

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) CLERK TS. DISTRICT
I. (a) PLAINTIFFS DEFENDANTS 2 RGR DAR TRIE TT
Brandon David Hunt Internal Revenue Service
IRS COMMISSIONER
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)
7526 Red Stag Street Serve on Attorney General
Arlington, TX 76002 950 Pennsylvania Ave NW Washington, DC 20530
Il. BASIS OF JURISDICTION (Place an "X” in One Box Only} III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
CJ 1 U.S. Government Li3 Federal Question PIF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State LC] 1 E] 1 Incorporated or Principal Place C] 4 LC] 4
of Business In This State
[x]2 U.S. Government [_]4 Diversity Citizen of Another State [J2 [| 2. Incorporated and Principal Place []s (Cs
Defendant (Indicate Citizenship of Parties in Item III} of Business In Another State
Citizen or Subject of a [13 [| 3 Foreign Nation ri6 (Ce
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[2 CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY 2 OTHER STATUTES - |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 - 375 False Claims Act
120 Marine ae 310 Airplane Cj 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_|690 Other 28 USC 157 3729(a))
{| 140 Negotiable Instrument Liability [_] 367 Health Care/ INTELLECTUAL |_| 400 State Reapportionment
[_] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury L] 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal | 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and.
(Excludes Veterans) 345 Marine Product Liability - CI 840 Trademark Cormpt Organizations
CI 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR: L | 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
T] 160 Stockholders’ Suits 355 Motor Vehicle - 371 Truth in Lending Act | | 485 Telephone Consumer
[x] 190 Other Contract Product Liability [_] 380 Other Personal | _|720 Labor/Management SOCIAL SECURITY |: Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury Cl 385 Property Damage 4 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
“REAL PROPERTY. CIVIL RIGHTS "L- PRISONER PETITIONS. [_|790 Other Labor Litigation |[] 865 RSI (405(g)) |] 891 Agricultural Acts
|_| 210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement || 893 Environmental Matters
[_] 220 Foreclosure |_| 441 Voting |_| 463 Alien Detainee Income Security Act “FEDERAL TAX:SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment i | 510 Motions to Vacate L_] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations i | 530 General LC] 871 IRS—Third Party H 899 Administrative Procedure
[_] 290 All Other Real Property 445 Amer. w/Disabilities -[ | 535 Death Penalty |. IMMIGRATION... | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
"| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only}
x] [x] | Original CO 2 Removed from Co 3. Remanded from CO 4 Reinstated or CO 5 Transferred from 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

VIT. REQUESTED IN [] CHECK IF THIS ISA CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R-Cv.P. NIA JURY DEMAND: Llyes [X]No
VI. RELATED CASE(S)

(See instructions);
IF ANY JUDGE «DOCKET. NUMBER
fs. \ Lb

DATE SIGNATURE OF ATTORNEY OF RECORD
5/20/2024
FOR OFFICE USE ONLY "

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

